         Case:18-01360-JGR Doc#:6 Filed:01/20/19                             Entered:01/20/19 22:29:50 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
Rodriguez,
         Plaintiff                                                                                Adv. Proc. No. 18-01360-JGR
CavCapital, Ltd.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: elefanter                    Page 1 of 1                          Date Rcvd: Jan 18, 2019
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 20, 2019.
dft            +CavCapital, Ltd.,   3401 Enterprise Pkwy,   Ste. 520,   Beachwood, OH 44122-7342

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 20, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 18, 2019 at the address(es) listed below:
              Lacey S. Bryan   on behalf of Plaintiff Simon Rodriguez lbryan@wwc-legal.com,
               dtackett@wwc-legal.com;9801172420@filings.docketbird.com;agarcia@wwc-legal.com
                                                                                            TOTAL: 1
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